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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


IN THE MATTER OF THE COMPLAINT,
                                                      Civil Action No.:
               - of -

STEPHEN SCHULTZ, as Owner of the “SCHULTZ
SEA”, a 2018 32’ Pursuit 325, for Exoneration from
or Limitation of Liability,

                                Petitioner.



    COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY

       STEPHEN SCHULTZ, as Owner of the “SCHULTZ SEA”, a 2018 32’ Pursuit 325

(hereinafter, “Petitioner”) by his attorneys HOLBROOK & MURPHY, as and for his Complaint

seeking Exoneration from or Limitation of Liability, alleges upon information and belief as

follows:

       1.      This is a proceeding for Exoneration from or Limitation of Liability pursuant to

46 U.S.C. § 30501 et seq., involving admiralty and maritime claims within the meaning of Rule

9(h) of the Federal Rules of Civil Procedure, and Rule F of the Supplemental Rules for Certain

Admiralty and Maritime Claims, as hereinafter more fully appears.

       2.      Petitioner is the owner of the “SCHULTZ SEA”, a 2018 32’ Pursuit 325

(hereinafter, the “Vessel”).

       3.      On or about June 23, 2019 between 2:00 a.m, and 3:00 a.m., the Vessel was

docked at Tashmoo Boatyard upon the navigable waters of the United States, on Lake Tashmoo

in Tisbury, Massachusetts when a fire began. The Vessel was burned in the fire. The cause of

the fire is unknown.
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         4.      GEICO Marine Insurance Company, John Hobby, and Tashmoo Boatyard &

Marine Service indicated to Petitioner’s insurer that they have property damage claims allegedly

resulting from the June 23, 2019 fire.

         5.      Petitioner anticipates that claims asserted against him will exceed the amount of

Petitioner’s interest in the Vessel on the date of the fire.

         6.      Any claim or claims, injuries, losses, damages or expenses arising from the fire

were not due to any fault, neglect, or want of care of Petitioner and occurred without Petitioner’s

privity or knowledge.

         7.      The value of the Vessel after the fire was determined to be $1,000. (EXHIBIT A,

“Vessel Appraisal”).

         8.      Petitioner, pursuant to Supplemental Rule F of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions of the Federal Rules of Civil

Procedure, offers an Ad Interim Security in the amount of $1,000, said amount being not less

than the Petitioner’s interest in the post-fire value of the Vessel on the date of the fire. (EXHIBIT

B, “Ad Interim Security”).

         9.      Venue in this district is proper.

         10.     Petitioner commenced this proceeding within six(6) months of written notice of

claim.

         11.     Petitioner is entitled to Exoneration from Liability for any claims arising from the

aforementioned fire, and from any and all claims that have been or may hereafter be made, and

Petitioner alleges that he has valid defenses thereto on the facts and law.

         12.     Petitioner claims, in the alternative, the benefit of Limitation of Liability to the

post-fire value of the Vessel provided by 46 U.S.C. §30501 et seq., and the various statutes

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supplementary thereto and amendatory thereof.

       13.     Petitioner has provided security herewith in the form of an Ad Interim Security

sufficient to cover its interest in the Vessel, with surety (Ad Interim Security), for payment into

Court whenever the same shall be ordered, as provided for by the aforesaid statute and by Rule F

of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions of the

Federal Rules of Civil Procedure and by the rules and practices of this Court.

       WHEREFORE, Petitioner, STEPHEN SCHULTZ, prays:

       (1)     That this Honorable Court adjudge that Petitioner is not liable for any claims,

               injury, and/or loss arising out of the June 23, 2019 fire, and is therefore entitled to

               exoneration from liability,

       (2)     If Petitioner is adjudged liable, that such liability be limited to the Petitioner’s

               interest in the post-fire value of the Vessel as aforesaid plus security for costs, and

               that Petitioner be discharged therefrom upon the surrender of such interest, and

               that the money surrendered, paid or secured as aforesaid, to be divided pro-rata

               according to the above-mentioned statutes among such Claimant(s) as may duly

               prove their claim saving to all parties any priorities to which they may be legally

               entitled, and that a decree may be entered discharging Petitioner from all further

               liability.

       (3)     That this Court issue an Order (Exhibit C, “proposed Order”) to include the

               following:

               (a)     Directing the issuance of Notice to all persons asserting
                       claims with respect to the June 23, 2019 fire, which this
                       Complaint seeks Exoneration from or Limitation of
                       Liability to file their respective claims with the Clerk of
                       this Court and to serve undersigned counsel for Petitioner a
                       copy on or before a date to be named in the Notice.
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                    (Exhibit D, “proposed Notice”).

             (b)    Directing Petitioner to file an Ad Interim Security as
                    security for the benefit of any and all Claimants, in the
                    amount of Petitioner’s interest in the post-fire value of the
                    Vessel as of the date of the fire, with interest at the rate of
                    6% per annum from the date of said security or whenever
                    the Court shall so order.

             (c)    Directing that upon Petitioner’s filing of an Ad Interim
                    Security, an injunction shall issue enjoining the prosecution
                    against Petitioner, their representatives, insurers, and the
                    Vessel of any and all claims, suits, action or proceedings,
                    whether or not already begun, with respect to the fire,
                    except in this proceeding.

      (4)    That Petitioner may have such other and further relief as the justice of the cause
             may require.

Dated: Boston, Massachusetts
       December 20, 2019

                                                    Respectfully Submitted,
                                                    Petitioner, STEPHEN SCHULTZ,
                                                    By his attorneys,

                                                    /s/ Samuel P. Blatchley
                                                    Robert J. Murphy BBO# 557659
                                                    Samuel P. Blatchley BBO# 670232
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                               CERTIFICATE OF SERVICE

         I hereby certify that on December 20, 2019, I electronically filed the within document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all counsel of record.



                                                   /s/ Samuel P. Blatchley
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